                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                             DOCKET NO. 3:08CR134-C


UNITED STATES OF AMERICA            )
                                    )
            v.                      )
                                    )                    ORDER
JAIME HUMBERTO SANDOVAL,            )
                                    )
                  Defendant.        )
____________________________________)


       THIS MATTER is before the Court on the Defendant’s “Motion To Adopt and Conform

Applicable Motions of Each and Every Other Co-Defendant” filed May 13, 2009 (document #516).

       After reviewing Defendant’s Motion, and considering the complexity of this case, the number

of pending motions, as well as the fact that several pending motions are made ex parte and under

seal, the Defendant’s Motion is DENIED without prejudice allowing Defendant to designate

specific motions filed by his co-Defendants and move the Court to adopt and conform those motions.

       SO ORDERED.



                                                Signed: May 13, 2009




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